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13   ARCHITH RAMKUMAR
     Trial Attorney
14
                                      UNITED STATES DISTRICT COURT
15                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
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17                                             )
      INNOVATION LAW LAB, et al.               )     Civil Action No. 3:19-cv-00807-RS
18
                                               )
19           Plaintiffs,                       )     NOTICE
                                               )
20                                             )
                                               )
21
      Kirstjen NIELSEN, Secretary, U.S.        )
22    Department of Homeland Security, et al., )
                                               )
23           Defendants.                       )
                                               )
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     NOTICE
     Innovation Law Lab v. Nielsen,
     Case No. 3:19-cv-0807-RS
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                                                  NOTICE
 2
               Counsel for Defendants are informed by the Department of Homeland Security that returns
 3
     to Mexico have commenced in the El Paso and El Centro Border Patrol Sectors as well as the El
 4
 5   Paso port of entry, consistent with 8 U.S.C. § 1225(b)(2)(C).

 6   Date: April 2, 2019                           Respectfully submitted,
 7
                                                   JOSEPH H. HUNT
 8                                                 Assistant Attorney General
 9                                                 WILLIAM C. PEACHEY
10                                                 Director
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12                                                 EREZ REUVENI
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16                                                 ARCHITH RAMKUMAR
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                                                   /s/ T. Benton York
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                                                   T. BENTON YORK
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     NOTICE
     Innovation Law Lab v. Nielsen,                   1
     Case No. 3:19-cv-0807-RS
                                        CERTIFICATE OF SERVICE
 1
 2             I hereby certify that on April 2, 2019, I electronically filed the foregoing document with

 3   the Clerk of the Court for the United States District Court for the Northern District of California
 4
     by using the CM/ECF system. Counsel in the case are registered CM/ECF users and service will
 5
     be accomplished by the CM/ECF system.
 6
 7                                    By: /s/ T. Benton York
                                      T. Benton York
 8                                    Trial Attorney
                                      United States Department of Justice
 9                                    Civil Division
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     NOTICE
     Innovation Law Lab v. Nielsen,                     2
     Case No. 3:19-cv-0807-RS
